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UNITED STATES DISTRICT COURT
FOR 'I`HE NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
DUNCAN MOORE, )
)
Plaintiff/Counter Defendant, )
)
) Case No.: 4:09-CV-273-RH/WCS
vs. )
)
TALLAHASSEE MEMORIAL HEALTHCARE, )
INC., a Florida non-profit corporation, )
)
Defendant/Counter Plaintiff. )
/

 

MOTI()N FOR LEAVE TO FILE REPLY BRIEF TO ADDRESS TALLAHASSEE
MEMORIAL HEALTHCARE. INC.'S RESPONSE TO DUNCAN MOORE'S MOTION
FOR ATTORNEYS' FEES AND COSTS
Plaintiff Duncan Moore ("l\/loore"), hereby moves the Court for leave to file a reply
memorandum to 'lTallahassee Memorial I-Iealthcare, Inc.'s Response to Dunoan l\/loore's Motion
for Attorneys' Fees and Costs and Incorporated Memorandum of Law ("Response“) (Dk. #76)
and in Support thereof Would offer the following memorandum of laW.
MEMORANDUM OF LAW
Moore requests leave to file a reply to Tallahassee Memorial Healthcare, lnc.'s ("TMH“)
Response for the purposes of addressing three specific issues raised for the first time in that
Response: (l) ERISA pre-emption of the attorneys‘ fees provision in the employment contract,
(2) effect of Hardt v. Reliance Standard Life lns. Co., 130 S. Ct. 2149 (2010) on the attorneys‘
fees analysis, and (3) pretrial settlement discussions

Moore did not address any of the above three issues in its initial motion. (Dk. #71) TMH

raised each of those issues for the first time in its Response. AS l\/loore has not previously

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addressed those issues, Moore believes a reply brief Would materially assist the Court in reaching
a decision on the matters addressed
ln order to fully brief the Court on issues raised for the first time in TMH‘s Response,
therefore, Moore Would request the Court grant leave to file a short reply brief.
LOCAL RULE 7.1(B) CERTIFICATION
The undersigned has conferred With TMH's counsel on the subject matter of this motion

and counsel could not come to any agreement

s/ Paul E. Parrish

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Attorneys for Plaintiff/Counter Defen_dant

 

CERTIFICATE OF SERVICE
I HEREBY CERT!FY that on the 26th day of July, 2010, l electronically filed the

l foregoing by using the CM/ECF system Which Will send a notice of electronic filing to Kenneth
R. Hart, 'Esquire, Ausley & McMullen, 227 South Calhoun Street, Tallahassee, FL 3230] and S.
Jonathan Vine, Esquire and Rachel Beige, Esq., Cole Scott 7 Kissane, P.A., 1645 Palm Beach
Lakes Blvd., an Floor, West Palm Beach, FL 33401.

s/ Paul E. Parrish
Attorney

 

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